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 5   Attorney for Defendant
     KIM PETER HOLZMANN
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 8                                 UNITED STATES DISTRICT COURT
 9                             EASTERN DISTRICT OF CALIFORNIA
10                                               –ooo–
11    UNITED STATES OF AMERICA,
12                                                   CASE NO.11-0454-GEB
                      Plaintiff,
13    vs.
14                                                   STIPULATION AND [PROPOSED]
                                                     ORDER CONTINUING DATE FOR
15    KIM PETER HOLZMANN,                            SENTENCING AND AMENDING
                                                     DATES FOR PROBATION FILINGS
16                    Defendants.                    _________________________________
                                                 /
17
18          The parties hereby stipulate and ask the Court to continue the date set for

19   sentencing from January 18, 2013 to February 15, 2013 as to Peter Holzmann based on

20   the need to further prepare for sentencing. Counsel is awaiting the results of a

21   psychological evaluation and there is additional work that needs to be completed prior to

22   sentencing.

23          The amended schedule for disclosure of the presentence report shall be as follows:

24          1.     The motion for corrections shall be due on February 1, 2013;

25          2.     Any reply or statement of no opposition shall be due on February 8, 2013.

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 1   United States Probation Officer Scott Storey has no objection to this schedule.
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 3
     Date: December 26, 2012                   /s/ RANDY SUE POLLOCK
 4                                             Randy Sue Pollock
                                               Counsel for Defendant
 5                                             Kim Peter Holzmann
 6
 7   Date: December 26, 2012                   /s/ JILL THOMAS
                                               Jill Thomas
 8                                             Assistant United States Attorney
 9
10   SO ORDERED:                               .
11
     Dated: January 2, 2013
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14                                         GARLAND E. BURRELL, JR.
                                           Senior United States District
15                                         Judge
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